                     Exhibit B




Case 3:24-cv-01359   Document 1-2   Filed 11/15/24   Page 1 of 3 PageID #: 55
      IN THE FIRST CIRCUIT COURT FOR DAVIDSON COUNTY, TENNESSEE
                      TWENTIETH JUDICIAL DISTRICT

IAN LUCAS,                                         )
                                                   )
        Plaintiff,                                 )      Case No. 24c2481
                                                   )
v.                                                 )
                                                   )
VANDERBILT UNIVERSITY, and                         )
VANDERBILT UNIVERSITY SCHOOL                       )
OF NURSING.                                        )
                                                   )
        Defendants.                                )

               NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, on

 November 15, 2024, defendants Vanderbilt University and Vanderbilt University School of

 Nursing (together “Vanderbilt”)1 in the above-captioned action filed a Notice of Removal

 (with attachments thereto) with the Clerk of the United States District Court for the District

 of Tennessee (Nashville). A Copy of the Notice is attached hereto as Exhibit 1 (without its

 respective attachments).

                                                   Respectfully submitted,


                                                   Kevin C. Klein, BPR No. 023301
                                                   Matthew “JP” Horton II, BPR No. 038247
                                                   Klein Solomon Mills, PLLC
                                                   1322 4th Avenue North
                                                   Nashville, TN 37208
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                                                   jp.horton@kleinpllc.com


                                                   Attorneys for the Defendant


1 Vanderbilt University School of Nursing is not a distinct entity from Defendant Vanderbilt

University. Insofar as Plaintiff’s decision to name Vanderbilt University School of Nursing
as a separate Defendant requires the School of Nursing to join in this Notice of Removal, the
School of Nursing does so.
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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing Notice of Removal has
been sent via e-mail to the following individuals on November 15, 2024:

Ian Lucas
PMB 61
Elizabethtown, North Carolina
28337
ian.h.lucas@protonmail.com

Plaintiff Pro Se




                                         Matthew “JP” Horton II




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